   Case 0:15-cv-62615-CMA Document 31-1 Entered on FLSD Docket 03/07/2016 Page 1 of 2
                                             The Law Offices of

                                      LEVY & LEVY, P.A.
Telephone: (954) 763-5722                                                          915 Middle River Drive, #518
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                                            FINAL INVOICE

       Attorney:                   Chad E. Levy, Esq.
       Case Name:                  White, Shauntel v. Horizon-by-the-Sea Inn, Inc.
                                   0:15-cv-62615-CMA
       Statement Date:             February 27, 2016
       Amount due:                $4,550.00 attorney’s fees
                                  $500.00 costs

                                           ATTORNEY FEES
              DATE
                 07/15/2015 Intake on Client                                                0.8
                 07/23/2015 Research and Investigation on Defendants                        0.6
                 07/30/2015 TC with Client on figures                                       0.2
                 07/30/2015 Draft Demand Letter                                             0.5
                 08/07/2015 Receive Undeliverable Response and follow up                    0.4
                            on further investigation of Defendants
                 12/07/2015 Draft Complaint                                                 0.6
                 12/14/2015 Finalize Complaint                                              0.3
                 12/15/2015 Review Orders and Notice from Court                             0.3
                 12/17/2015 Prepare calculation of wages                                    0.4
                 12/24/2015 Finalize Statement of Claim                                     0.5
                 01/06/2016 Review Order on Service                                         0.1
                 01/06/2016 Review Service Form and Prepare Return                          0.2
                 01/06/2016 Review Order on Scheduling Report                               0.2
                 01/20/2016 Review Answer and Aff Defenses                                  0.5
                 01/21/2016 Draft Cert. Interested Parties                                  0.1
                 01/21/2016 Draft Joint Scheduling Report                                   0.4
                 01/26/2016 Review email from OC on Report                                  0.1
                 01/27/2016 Review changes from OC on Report                                0.2
                 01/27/2016 Finalize Scheduling Report and file                             0.5
                 01/28/2016 Review Trial Order                                              0.3
                 01/28/2016 Prepare Discovery Requests to Defendants                        0.8
                 01/29/2016 Review Defendants Cert. Interested Parties                      0.1
                 01/29/2016 Review Initial Disclosures                                      0.2
                 02/01/2016 Review Order Setting Settlement Conference                      0.2
                 02/09/2016 Review Response to Statement of Claim and                       1.1
                            Documentation
                 02/12/2016 TC with client                                                  0.3
                 02/16/2016 Email to OC on settlement                                       0.1
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               02/16/2016 Email from OC and File Notice of Mediator                                         0.2
               02/17/2016 TC with client on settlement                                                      0.3
               02/17/2016 Email to OC with offer                                                            0.2
               02/18/2016 Email from OC with offer                                                          0.1
               02/18/2016 TC with client on settlement                                                      0.4
               02/18/2016 Email to OC with offer                                                            0.2
               02/18/2016 Email from OC accepting offer                                                     0.1
               02/18/2016 Draft Release                                                                     0.5
               02/18/2016 Draft Notice of Settlement                                                        0.1
               02/18/2016 Revise Release Agreement from OC                                                  0.2
               02/22/2016 Review Executed Agreement from OC                                                 0.2
               02/22/2016 TC with client on execution                                                       0.2
               02/27/2016 Draft Motion for Approval                                                         0.3

                                                                TOTAL: 13.0 hours
                                                        ATTORNEY RATE: $350.00/hr
                                                        TOTAL DUE:     $4,550.00


                                                       COSTS LEDGER

                                                        Filing Fee                  $400.00
                                                        Process Server              $100.00

                                                        TOTAL DUE:                  $500.00




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